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 6

 7                        UNITED STATES DISTRICT COURT

 8                       EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,            No. 2:16-cr-133-TLN

11                 Plaintiff,             STIPULATION AND ORDER CONTINUING
                                          STATUS CONFERENCE
12           v.
                                          Date: Feb. 9, 2017
13   GRANT BROWNING, et al.,
                                          Time: 9:30 AM
14                 Defendants.
                                          Courtroom Two
15

16

17

18        All parties Stipulate that the status conference now set for
19   December 15, 2016 be continued to February 9, 2017 and request
20
     The Court so order.     This continuance is needed for Defendant’s
21
     Lawyers to review several CDs that have been recently provided to
22
     them.    Failure to allow this continuance would not give counsel
23

24   sufficient time to prepare for trial.

25        The parties further stipulate that time for trial under the

26   Speedy Trial Act be excluded pursuant to 18 U.S.C. 3161(h)(7)(A),
27   B(iv) [Local Code T4] until February 9, 2017, and that the need
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 1   for preparation required a finding that the ends of justice out-
 2   weigh the best interest of the public and Defendants in a speedy
 3
     trial.
 4
     Dated December 13, 2016                  PHILLIP A. TALBERT
 5                                            Acting U.S. Attorney

 6                                            /s/ JAMES R. CONOLLY
                                              Assistant U.S. Attorney
 7

 8                                            /s/ J TONEY
                                               J Toney
 9                                            Attorney for Grant Browning

10                                            /s/ CHRIS COSCA
                                               Chris Cosca
11                                             Attorney for Deandrew Jordan
12
                                           /s/ MICHAEL PETRIK
13                                         Attorney for Athanasios Dimou

14                            ORDER
15        For the reasons stated above, the requested continuance is
16
     granted until February 9, 2017, at 9:30 a.m.
17
          IT IS SO ORDERED.
18
     DATED: December 13, 2016
19

20                                                Troy L. Nunley
21                                                United States District Judge

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